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                      IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                                HARRISON DIVISION

MARTIN POT and
SECOND AMENDMENT FOUNDATION                                                          PLAINTIFFS

       v.                                  Case No. 13-3102

COLONEL STAN WITT, in his official
capacity as Director of the
Arkansas State Police                                                                DEFENDANT

                                            ORDER

       Now    on     this    5th    day    of       February,        2014,    comes    on   for

consideration         defendant’s          Motion        to     Dismiss,        or     in   the

Alternative, Motion to Transfer Venue (doc. #7) and the response

thereto.      The Court, being well and sufficiently advised, finds

and orders as follows:

       1.     On November 4, 2013, plaintiffs, Martin Pot and the

Second      Amendment       Foundation,         filed      this      action     against     the

defendant Colonel Stan Witt, in his official capacity as Director

of the Arkansas State Police.

       The plaintiffs brought this action pursuant to 28 U.S.C. §

1983   claiming       that    certain      provisions          of     Arkansas’      concealed

handgun      carry    laws     violate      the       Constitution.           Specifically,

plaintiffs     allege        that    the    Arkansas          laws    violate    the    Second

Amendment and Fourteenth Amendment equal protection guarantees.

       2.     Defendant now moves to dismiss the action -- asserting

that venue is not proper and that this Court, therefore, lacks

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personal jurisdiction.         Alternatively, defendant argues that the

matter should be transferred to the Eastern District of Arkansas.

     3.     Under 28 U.S.C. § 1391(b), it is provided that “[a]

civil action may be brought in

            (1)   a  judicial district   in   which  any
            defendant resides, if all defendants are
            residents of the State in which the district
            is located;

            (2)   a   judicial   district  in   which a
            substantial part of the events or omissions
            giving rise to the claim occurred, or a
            substantial part of property that is the
            subject of the action is situated; or

            (3) if there is no district in which an
            action may otherwise be brought as provided
            in this section, any judicial district in
            which any defendant is subject to the court’s
            personal jurisdiction with respect to such
            action.


     And, under 28 U.S.C. § 1406(a), it is provided that:

            [t]he district court of a district in which
            is filed a case laying venue in the wrong
            division or district shall dismiss, or if it
            be in the interest of justice, transfer such
            case to any district or division in which it
            could have been brought.


     4.     The plaintiffs’ complaint asserts that venue is proper

herein    pursuant   to   28   U.S.C.   §      1391   “because    the   Defendant

executes,    administers,      and   enforces         the   complained-of      laws

against Plaintiffs in this District, and because the events and

omissions giving rise to this action are harming Plaintiffs in



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this District, and the State laws were enacted in the State

capital in this District.”

     5.     In   response,   defendant        argues    that    venue    instead

properly lies in the Eastern District of Arkansas because:

           * decisions regarding concealed handgun carry licensing

are made by officers and the administration at Arkansas State

Police headquarters in Little Rock, Arkansas;

           * Little Rock, Arkansas is the State’s capital and home

of the legislature responsible for passing the State’s laws;

           * Little Rock, Arkansas is located in Pulaski County

and falls within the Eastern District of Arkansas;

           * the defendant resides in the Eastern District of

Arkansas; and,

           * the law being challenged was passed and is enforced

in the Eastern District of Arkansas.

     6.    When a defendant seeks dismissal for improper venue, it

bears the burden of demonstrating that the venue chosen by the

plaintiff is improper.       United States v. Orshek, 164 F.2d 741,

742 (8th Cir. 1947).    “In making our determination, we do not ask

which district among two or more potential forums is the ‘best’

venue, rather, we ask whether the district the plaintiff chose

had a substantial connection to the claim, whether or not other

forums had greater contacts.”         Pecoraro v. Sky Ranch for Boys,




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Inc., 340 F.3d 558, 563 (8th Cir. 2003)(citing Setco Enter. v.

Robbins, 19 F.3d 1278, 1281 (8th Cir. 1994)).

     Plaintiffs admit in their response to the instant motion

that their complaint mistakenly asserts that the state law in

question was enacted in the Western District of Arkansas and

acknowledge that, in fact, it was enacted in Little Rock which is

in the Eastern District of Arkansas.              However, the loss of that

mistaken assertion as a basis for their claim on the venue issue

is not fatal to it.

     The   Court    agrees    that   the     laws    about   which    plaintiffs

complain are being enforced against them where they live -- in

the Western District of Arkansas -- and not where the law was

enacted.      Accordingly the Court believes that, although venue

could be proper in the Eastern District of Arkansas, it is also

proper   in   the   Western   District       of   Arkansas     as   selected    by

plaintiffs and that defendant's motion should be denied.

     IT IS THEREFORE ORDERED that defendant’s Motion to Dismiss,

or in the Alternative, Motion to Transfer Venue (doc. #7) is

hereby DENIED.

     IT IS SO ORDERED.



                                     /s/ Jimm Larry Hendren
                                     JIMM LARRY HENDREN
                                     UNITED STATES DISTRICT JUDGE




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